Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 1 of 18




          EXHIBIT 65
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 2 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 3 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 4 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 5 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 6 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 7 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 8 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 9 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 10 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 11 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 12 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 13 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 14 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 15 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 16 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 17 of 18
Case 3:22-cv-03131-JCS Document 87-9 Filed 11/17/23 Page 18 of 18
